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                                             CIVIL MINUTE ENTRY


BEFORE:                               Magistrate Judge Steven L. Tiscione


DATE:                                 October 1, 2018


TIME:                                 3:00 P.M.


DOCKET NUMBER(S):                     CV-18-1702 (RJD)


NAME OF CASE(S):                      TIMMS -V- CITIBANK, N.A.



FOR PLAINTIFF(S):                     Bromberg, Schedler



FOR DEFENDANT(S):                     Neumann



NEXT CONFERENCE(S):                   See rulings below



FTR/COURT REPORTER:                   3:12 - 3:19, 4:18 - 4:23

RULINGS FROM SETTLEMENT CONFERENCE:

Settlement discussions were held but Defendants need additional time to consider Plaintiff's last offer. Parties will file a
joint status report by October 15, 2018.
